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|
UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
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UNITED STATES OF AMERICA, | Southern Division
Plaintiff, |
vs. | Case #: 8:08-CR-00223- Indictment
| AG-8 Time: 2:00 PM
Jagmohan S. Dhillon | Initial App. Date:
| 07/23/2009

Defendant. | Date Filed: 08/27/2008
Violation: 21: 846:841; 18:1956(a)(3)(A)

| CourtSmart: CS 7/23/09

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PROCEEDINGS HELD BEFORE UNITED | CALENDAR/ PROCEEDINGS SHEET

STATES MAGISTRATE JUDGE: Robert N. | LOCAL/OUT-OF-DISTRICT CASE
Block

PRESENT: Kerri Glover M. Dabiri / None

Deputy Clerk Assistant U.S. Attorney Interpreter/Language

Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent;
right to bail; bail review

lV Attorney: Robison Harley I¥ Panel, Appointed
PIA set for August 3, 3009 at 10:00 AM in Santa Ana.
Iv Defendant committed to the custody of the U.S. Marshal

¥ Other: Hon. Mary Alice Theiler from the Western District of Washington (Seattle) ordered
Defendant detained on July 10, 2009, pending further hearings in CA. Hon. Theiler found defendant
qualified for appointment of counsel during his initial appearance on July 6, 2009.

 
  
 

Deputy Clerk Initials: KL
00 : 02

 

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